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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA, the STATES
of CALIFORNIA, FLORIDA, GEORGIA,
MICHIGAN, TENNESSEE, and
WASHINGTON, ex rel. MICHAEL MULLEN,

                                            Plaintiffs,
v.                                                        Civil Action No. 19-cv-12488-IT

CARDINAL HEALTH, INC., et al.,

                                          Defendants.


               OMNIBUS REPLY IN SUPPORT OF MOTIONS TO DISMISS
              AMENDED COMPLAINT FOR FAILURE TO STATE A CLAIM

        Relator’s Amended Complaint fails for multiple reasons, and Relator’s Opposition (Dkt.

170) does nothing to rebut the Practice Defendants’ Motions to Dismiss (Dkt. 122, 125, 126, 130,

131, & 133).1 First, Relator fails to plausibly allege that any of the Practice Defendants possessed

the requisite scienter to violate the Anti-Kickback Statute (“AKS”). To violate the AKS, a

defendant must act willfully. In other words, a defendant must know its conduct is unlawful. But

here, Relator pleads no facts from which an inference can be drawn that any Practice Defendant

believed the contract it entered with Cardinal was unlawful. Allowing this case to proceed would

undermine the essential purpose of the heightened scienter element of the AKS—separating

innocent from unlawful conduct.

        Not only is scienter missing, but Relator’s Amended Complaint also fails to satisfy other

AKS requirements under the False Claims Act (“FCA”). The primary purpose of the AKS is to

prevent money from corrupting medical judgment and causing overutilization of medical services



1
 The Practice Defendants are Birmingham Hematology and Oncology Associates, LLC, Oncology Specialties, PC,
Dayton Physicians, LLC, Northwest Medical Specialties, PLLC, and Health First Medical Group, LLC.
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paid for by government programs. This action does not serve this purpose. Instead, Relator has

filed a redundant lawsuit against the Practice Defendants repeating allegations previously leveled

in another complaint against the very business unit that Relator led at Cardinal. Relator’s

allegations fail not only because they are repetitive of the prior suit and, accordingly, violate the

FCA’s first-to-file rule, but also because Relator’s allegations make clear that Relator cannot

demonstrate that any alleged kickback resulted in claims submitted to the government. Relator’s

reverse false claims act and conspiracy causes of action fare no better, and the Court should dismiss

Relator’s Amended Complaint.

                                                  ARGUMENT

    I.   Relator’s Amended Complaint Fails to Adequately Allege Scienter.

         A. Relator Attempts to Improperly Lower the Scienter Standard.

         Relator must allege sufficient facts showing that each Practice Defendant acted “knowingly

and willfully.” See 42 U.S.C. § 1320a-7b(b)(1) (emphasis added). Willfulness means that each

Practice Defendant acted with an intent to do something unlawful.2 Bryan v. United States, 524

U.S. 184, 191-92 (1998) (“As a general matter . . . a ‘willful’ act is one undertaken with a ‘bad

purpose.’”); see also United States v. Bay State Ambulance & Hosp. Rental Serv., Inc., 874 F.2d

20, 33 (1st Cir. 1989). Willfulness is a rigorous requirement that must be strictly enforced. U.S. ex

rel. Jones v. Brigham & Women’s Hosp., 678 F.3d 72, 85 (1st Cir. 2012).

         In his Opposition, Relator attempts to shortchange the willfulness requirement by relying

on a case from the Fifth Circuit that defined willfulness as only requiring the defendant’s conduct



2
  Contrary to Relator’s characterization in his Opposition, the 2010 amendments to the AKS did not eliminate the need
to allege a specific intent offense—they just eliminated the need to allege that the defendant knew its conduct violated
the AKS specifically. See U.S. ex rel. Hart v. McKesson Corp., 602 F. Supp. 3d 575, 594 (S.D.N.Y. 2022) (discussing
the effects of the 2010 amendments on the AKS scienter standard). Relator must still allege enough facts to support a
plausible inference that the Practice Defendants acted with an intent to do something unlawful. Id. (holding that the
willfulness requirement maintained this definition even after the 2010 amendments).
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not be negligent or accidental. Relator Opp. at 19-20 (citing United States v. St. Junius, 739 F.3d

193, 210 (5th Cir. 2013)). This case has been rejected by federal courts across the country and

even called into question by the Fifth Circuit itself. U.S. ex rel. Hart v. McKesson Corp., 602 F.

Supp. 3d 575, 594-95 (S.D.N.Y. 2022) (rejecting low scienter standard articulated in St. Junius

and collecting AKS cases that disagree with St. Junius, including subsequent Fifth Circuit cases).

         Indeed, most circuit courts to address this issue have rejected Relator’s position, including

the First Circuit.3 Willfulness requires relators to prove that defendants knew their conduct was

unlawful. See McKesson, 602 F. Supp. 3d at 595 (collecting cases that applied traditional definition

of willfulness in AKS cases, including United States v. Teva Pharms. USA, Inc., 560 F. Supp. 3d

412, 421-22 (D. Mass. 2021)). Relator’s interpretation effectively collapses the “knowingly” and

“willfully” standards into one inquiry, gutting an otherwise rigorous requirement and failing to

give full effect to statutory language. The Court should reject Relator’s position.

         B. Relator Relies on Conclusory and Implausible Allegations of Scienter.

         Relator must allege specific facts from which the Court can infer that each Practice

Defendant realized its business arrangement with Cardinal was illegal but knowingly and willfully

entered the arrangement anyway. Although Relator may allege scienter generally, this is not a free

pass around the strictures of Rule 8, and Relator falls far short of this burden. The Amended

Complaint fails to allege non-conclusory facts that create plausible inferences that each Practice

Defendant acted knowingly and willfully.

         Relator first argues that scienter is adequately alleged because the Practice Defendants had

a general awareness of AKS requirements, as shown by certifications the Practice Defendants


3
 See Bay State Ambulance, 874 F.2d at 33 (upholding jury instruction that defined willfulness as doing “something
purposely, with the intent to violate the law, [doing] something purposely that law forbids”); United States v. Goldman,
607 F. App’x 171, 174-75 (3d Cir. 2015); United States v. Nagelvoort, 856 F.3d 1117, 1126 (7th Cir. 2017); United
States v. Jain, 93 F.3d 436, 441 (8th Cir. 1996).
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signed to receive reimbursements from the U.S. Centers for Medicare & Medicaid Services

(“CMS”). Relator Opp. at 20-21. This argument is routinely rejected in FCA cases. See, e.g., U.S.

ex rel. Fitzer v. Allergan, No. 1:17-cv-00668-SAG, 2021 WL 4133713, at *8 (D. Md. Sept. 10,

2021) (“The fact that Defendants were aware of the AKS and its requirements says nothing about

whether they were acting with an unlawful intent[.]”).4 General awareness of the AKS cannot

support an inference that each individual Practice Defendant knew this particular course of

conduct was unlawful. McKesson, 602 F. Supp. 3d at 596 (dismissing FCA complaint for lack of

scienter because general knowledge of the AKS “cannot alone support a finding that [defendant]

knew this particular course of conduct was unlawful”). It is patently unreasonable to infer that

blanket regulatory certifications equate to specific knowledge that the upfront payments were

illegal kickbacks.

         Relator next argues that scienter is adequately alleged because Cardinal attempted to hide

“the true nature” of the upfront payments. Relator Opp. at 22-23. But, contradictorily, the

Amended Complaint alleges that Cardinal openly advertised the upfront payments to the Practice

Defendants and the medical industry at large. See Am. Compl. ¶ 78 (alleging that Cardinal

“leverage[d] these payments into a massive capture of market share”) (emphasis added); id. ¶ 93-

94 (alleging that Cardinal’s competitors knew about the upfront payments and even began to offer

competing upfront payments)5; id. (alleging that several large companies began to do business with



4
  See also U.S. ex rel. Hart v. McKesson Corp., No. 15-CV-0903 (RA), 2022 WL 1423476, at *12 (S.D.N.Y. May 5,
2022) (“[A]lleging that a defendant had a general awareness of the laws regulating the pharmaceutical industry is not
enough to establish scienter. There must be facts from which the Court can infer that Defendants knew the conduct
was unlawful and proceeded with the business practice regardless.”); U.S. ex rel. Complin v. N.C. Baptist Hosp., No.
09-CV-00420, 2016 WL 7471311, at *14, *17 (M.D.N.C. Dec. 28, 2016) (refusing to infer scienter based on
allegations that hospital was, or should have been aware, of relevant laws and regulations governing federal health
care reimbursements), report and recommendation adopted, 2019 WL 430925 (M.D.N.C. Feb. 4, 2019).
5
  In his Opposition, Relator argues that the “unusual” nature of the upfront payments should have “warned” the
Practice Defendants that the payments were illegal. Relator Opp. at 21. This directly contradicts his allegation in the
Amended Complaint that competitors of Cardinal also offered upfront payments. See Am. Compl. ¶ 94.
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Cardinal because of the upfront payments). Each Practice Defendant even entered contracts

detailing the exact nature of the upfront payments. Id. at 31-44. Such open advertising negates any

inference that the Practice Defendants believed the upfront payments were illegal, and it instead

suggests that the Practice Defendants believed the payments were in fact lawful. See McKesson,

602 F. Supp. 3d at 596 (finding that defendant’s open advertisement of alleged kickbacks

undermined any inference of scienter because it suggested defendant believed the payments were

lawful); United States v. Valley Campus Pharmacy, Inc., No. 2:16-CV-04777 (MCS) (PLA), 2021

WL 5406148, at *3 (C.D. Cal. Oct. 12, 2021) (same); United States v. Novartis AG, No.

04CV4265NGGRLM, 2011 WL 13234720, at *9 (E.D.N.Y. Feb. 8, 2011) (same). AKS cases

where scienter is adequately alleged require that defendants take significant steps to conceal the

kickbacks, including refusing to reduce the illegal business arrangements into writing. McKesson,

602 F. Supp. 3d at 596 (collecting cases).

       In sum, there is no well-pled allegation that a single employee of any of the Practice

Defendants knew or believed that the upfront payments were illegal. Relator’s unfounded

conclusions to the contrary cannot change that. Fitzer, 2021 WL 4133713, at *8 (“Relator may not

simply conclude that Defendants acted with an unlawful purpose; he must allege specific facts that

support an inference that Defendants were, in reality, acting with that purpose.”). The Amended

Complaint should be dismissed for failure to adequately allege scienter.

 II.   Relator’s Amended Complaint Fails to Plead that an AKS Violation Resulted in
       False Claims.

       A. Relator Does Not and Cannot Sufficiently Allege But-For Causation.

       Relator claims that the First Circuit addressed the standard for causation in Guilfoile v.

Shields, 913 F.3d 178, 189 (1st Cir. 2019). This is not the case. In Guilfoile, the First Circuit

emphasized that “the issue before us is not the standard for proving an FCA violation based on the

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AKS, but rather the requirements for pleading an FCA retaliation claim.” Id. at 190. As the Court

explained therein, the standards are different for alleging a retaliation claim compared to a “direct”

FCA violation. In a retaliation case, one need not plead that the AKS caused submission of a false

claim because the standard is whether the plaintiff has “plead that their actions in reporting or

raising concerns about their employer’s conduct ‘reasonably could lead to an FCA action.’” Id. at

189.

       There are, however, no retaliation claims here against the Practice Defendants. Moreover,

Relator cites Guilfoile’s reference to Greenfield completely out of context. The First Circuit’s

citation to Greenfield was merely for the point that “if there is a sufficient causal connection

between an AKS violation and a claim submitted to the federal government,” then the claim is

false, without need to prove additional falsity. Id. at 190 (emphasis added). When the First Circuit

resolved Guilfoile, the Third Circuit in Greenfield was the only circuit to have yet addressed a

question regarding the standard for causation. Cairns, issuing approximately three years after the

First Circuit decided Guilfoile, was not available for consideration. See U.S. ex rel. Cairns v. D.S.

Med. LLC, 42 F.4th 828 (8th Cir. 2022). Accordingly, contrary to Relator’s claim, the standard for

causation in an FCA case is far from decided in the First Circuit.

       Relator’s Opposition also ignores the continuing circuit court movement toward

interpreting the “resulting from” language of the AKS to mean “but for” causation. In March of

this year, in U.S. ex rel. Martin v. Hathaway, the Sixth Circuit addressed causation, finding that

“the ordinary meaning of ‘resulting from’ is but-for causation . . . That understanding applies

unless strong textual or contextual indications indicate a contrary meaning . . . Congress added the

‘resulting from’ language in 2010, against the backdrop of a handful of cases that observed similar




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language as requiring but-for causation.” 63 F.4th 1043, 1052 (6th Cir. 2023) (quotations and

alterations omitted). The Sixth Circuit unanimously denied a petition for en banc review.

       As was the case in Martin, here “the alleged scheme did not change anything . . . There’s

not one claim for reimbursement identified with particularity in this case that would not have

occurred anyway, no matter whether the underlying business [issue] occurred or not.” Martin, 63

F.4th at 1053. Accordingly, the Practice Defendants suggest “but-for” causation as applied by most

circuits to address the question, is the right standard here.

       B. Relator’s Claims Fail Even Under Greenfield.

       As discussed in the Motion to Dismiss, this case is distinguishable from cases like U.S. ex

rel. Bawduniak v. Biogen Idec, Inc., No. 12-CV-10601-IT, 2018 WL 1996829 (D. Mass. Apr. 27,

2018). And, even if the proper standard for causation is “some causal link beyond merely temporal

proximity, but short of but-for causation,” see Kuzma v. N. Ariz. Healthcare Corp., No. CV-18-

08041-PCT-DGC, 2022 WL 2159027, at *10 (D. Ariz. June 15, 2022), the Court nonetheless

should dismiss the Amended Complaint.

       Relator cites two opinions (decided before Cairns and Martin) in support of his claim that

the Amended Complaint adequately pleads causation, but the allegations at issue in those cases

differ from the facts alleged here. In both Teva, 560 F. Supp. 3d at 422 and United States v.

Regeneron Pharms., Inc., No. CV 20-11217-FDS, 2020 WL 7130004, at *11 (D. Mass. Dec. 4,

2020), the alleged schemes involved pharmaceutical manufacturers disguising copay waivers as

charitable donations, and directly “removing financial considerations . . . from patients’ decision-

making” with respect to specific drugs produced by the companies paying the copays. Regeneron,

2020 WL 7130004, at *11. Knowledge that a certain manufacturer would cover copays directly

influenced physician judgment because, “[a]ccording to the complaint [in Regeneron], when


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physicians knew that copay assistance was not available for [defendant’s drug], they often

prescribed the cheaper [competitor drug], in order to avoid the risk of burdening their patients with

expensive copays or being unable to collect the copays.” Id. at *2.

        In his Opposition, Relator confuses the portion of the Regeneron holding finding that the

relator demonstrated scienter—i.e., that the purpose of the copay waivers was to induce scripts,

regardless of whether the physicians would have written the scripts anyway—with the

requirements for causation. To demonstrate causation, Relator must allege a “sufficient causal

connection” between the AKS violation and an actual claim submitted to the government. Teva,

560 F. Supp. 3d at 422 (citing Guilfoile, 913 F.3d at 190).

        And importantly, despite citing Greenfield in both Teva and Regeneron, the court found

that the pleadings alleged facts that demonstrated the equivalent of “but for” causation, even if

“but for” is not required. See id. (“The government has alleged, in sufficient detail, a scheme by

which [defendant] practically guaranteed that its own donations would result in the submission of

Medicare claims for [defendant’s drug].”) (emphasis added); Regeneron, 2020 WL 7130004, at

*14 (holding that physicians would not prescribe defendant’s drugs without copay subsidies, and

“but for defendant’s contributions, patients would not receive [defendant’s drug] copay subsidies”)

(emphasis added).6 The logic for both cases is simple. For every Medicare drug claim, there is a

copay. No copay subsidy means no claims. The causal link in these cases is clear.

        Not so in this case. There is no allegation that the alleged remuneration had any effect on

a claim. Physicians prescribe drugs based on patient need, and claims are submitted to Medicare.



6
  Relator also cites U.S. ex rel. Jamison v. McKesson Corp., No. 208CV214 SA DAS, 2009 WL 3176168, at *1 (N.D.
Miss. Sept. 29, 2009), on reconsideration, No. 2:08CV214-SA-DAS, 2010 WL 1223876 (N.D. Miss. Mar. 25, 2010)
for the point that “wholesalers” are not outside the scope of the AKS. This out-of-circuit district court opinion
addresses claims alleged pursuant to the version of the AKS in place before the 2010 amendments and does not explain
the requirements for pleading causation since Congress added the “resulting from” causation requirement to 42 U.S.C.
§ 1320a-7b(g). As a result, Jamison has no relevance to the facts of this case.
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Multiple drug wholesalers sell the same drugs. Whether a drug is purchased from Cardinal or one

of its competitors has no effect on whether the claims are submitted. Thus, any alleged inducement

to buy the drugs from one source over another has no effect on the claim. For these reasons,

regardless of the causation standard applied, the Court should dismiss the Amended Complaint.

III.   Relator’s Amended Complaint Violates the FCA’s First-to-File Bar.

           A. The First-To-File Bar Does Not Require Complete Identity of Defendants.

       Relator claims the same defendants must be named in the first-filed and any subsequently

filed complaint for the Court to dismiss the Amended Complaint pursuant to the first-to-file bar.

He is wrong. “[B]ecause the purpose of the FCA’s first-to-file provision is to prevent the filing of

more qui tam suits once the government already has been made aware of the potential fraud

perpetrated against it . . . the fact that the later action names different or additional defendants is

not dispositive as long as the two complaints identify the same general fraudulent scheme.” U.S.

ex rel. Poteet v. Medtronic, Inc., 552 F.3d 503, 517 (6th Cir. 2009), abrogated on other grounds

by U.S. ex rel. Rahimi v. Rite Aid Corp., 3 F.4th 813 (6th Cir. 2021) (internal quotations omitted).

       The first-to-file bar is meant to further the “goal of avoiding piecemeal and duplicative

litigation that does not advance the government’s investigation of alleged fraud.” U.S. ex. rel. Kelly

v. Novartis Pharms. Corp., 827 F.3d 5, 11-12 (1st Cir. 2016). In the words of the First Circuit,

“[s]imply put, once the government gets sufficiently valuable information from a qui tam

complaint about the same fraud alleged by a follow-on complaint, the purposes of the first-to-file

rule have been fully served.” U.S. ex rel. Ven-A-Care of the Fla. Keys, Inc. v. Baxter Healthcare

Corp., 772 F.3d 932, 942 (1st Cir. 2014).

       Here, the first-filed complaint (“Omnihealth Complaint”) detailed the contractual

relationship between Cardinal and its customers. In a case alleging kickbacks, there are necessarily


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two sides to the exchange—the payer and receiver. Although the alleged receivers were not

identified in the OmniHealth Complaint, it was inevitable that the government would identify them

during the investigation. In fact, the government did just that.

       In its settlement agreement with Cardinal, the government identified 38 practices that had

these contracts with Cardinal. Most of these practices were not identified by Relator in his second-

filed complaint. See Dkt. 129, Ex. A. Thus, the government clearly had enough information to

identify the Practice Defendants based on the first-filed complaint. Although the OmniHealth

Complaint focused on Cardinal, it “put the government on notice to investigate the fraudulent

scheme alleged,” i.e., that Cardinal was purportedly violating the AKS through its contracts with

physician practices, such that “the government [was already] aware of the essential or material

facts of the scheme” and “had enough information to discover any related fraud.” U.S. ex rel.

Szymoniak v. ACE Secs. Corp., No. 0:13-CV-00464-JFA, 2014 WL 1910876, at *5 (D.S.C. May

12, 2014). Necessarily, the government had the ability to determine the identity of the practices

participating in Cardinal’s alleged scheme based on information in the OmniHealth Complaint.

See United States v. Medco Health Sols., Inc., No. CV 11-684-RGA, 2017 WL 63006, at *11 (D.

Del. Jan. 5, 2017).

       For these reasons, explained more fully in the Motions to Dismiss, the Court should dismiss

the Amended Complaint on first-to-file grounds and deny leave to amend as futile.

IV.    Relator Fails to Properly Allege Reverse False Claims.

       Liability for a reverse false claim cannot exist in the absence of an “obligation” to pay the

government. See 31 U.S.C. § 3729(a)(1)(G). As discussed in the Motion to Dismiss, such an

“obligation’ may not arise from the same conduct that gives rise to conventional FCA claims. Dkt.




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129 at 33. Because Relator impermissibly bases his reverse false claim count on the same conduct

giving rise to his other FCA claims, he has failed to plead the existence of an “obligation.”

       In his Opposition, Relator does not contest the “well settled” notion “that reverse false

claims may not be based on the same conduct as a plaintiff’s claims under 31 U.S.C. §§

3729(a)(1)(A) and (a)(1)(B).” United States v. Lab. Corp. of Am. Holdings, No. 9:14-CV-3699,

2019 WL 236799, at *3 (D.S.C. Jan. 16, 2019) (internal quotations omitted). Instead, Relator

claims that, even though they involve the same government payments, his “reverse false claims

allegations are distinct from [his] presentment and false record allegations.” Relator Opp. at 28.

According to Relator, his reverse false claim allegations are distinct because they rely on an

alternative theory that the Practice Defendants did not know their claims were illegal until after

the claims were paid. See id. But reverse false claim counts alleging an obligation to repay the

government—including those that courts largely agree are “redundant” and impermissible—

always and necessarily rely on a defendant’s knowledge after the government pays a claim. See

Dkt. 129 at 23-24. The purported distinction raised by Relator is really no distinction at all.

       Furthermore, this Court has specifically rejected attempts to characterize the payments at

issue in ongoing false-presentment and false-statement lawsuits as “overpayments” giving rise to

“obligations” for the purposes of an alternative reverse false claims count. U.S. ex rel. Martino-

Fleming v. S. Bay Mental Health Ctr., Inc., No. 15-13065, 2018 WL 4539684, at *6 (D. Mass.

Sept. 21, 2018). According to this Court, any “obligation” arising from such an “overpayment” is

“merely potential or contingent,” and thus not subject to reverse-false-claim liability. Id. (internal

quotations omitted). Although Relator attempts to distinguish several aspects of Martino-Fleming,

see Relator Opp. at 30, he makes no attempt to explain why this key holding would not apply to

his reverse false claim count.


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        Relator ultimately fails to sufficiently allege any “obligation” that can support his reverse

false claim count, but other portions of Relator’s Opposition also warrant addressing because they

highlight his plainly untenable theory of reverse false claims liability. According to the Complaint,

“Cardinal Health admitted” in its settlement agreement that the claims at issue in this case violated

the AKS. Relator Am. Compl. ¶ 164. This purported admission, according to Relator, placed the

Practice Defendants on actual notice that they received overpayments from the government, giving

rise to an “obligation.” Id.

        In his Opposition, however, Relator does not seriously defend his allegation that Cardinal

“admitted” its agreements with Practice Defendants were illegal. Indeed, Relator now contends

that whether Cardinal made such an admission “is of no moment here.” Relator Opp. at 31. What

matters, according to Relator, is the fact that Cardinal settled. See id. (“The question here is what

information was enough to trigger [Practice Defendants’] obligation to identify an overpayment,

and the government’s publicly stated allegation and $13.25 million settlement for the very

payments that [Practice Defendants] accepted is more than enough to trigger that obligation.”). In

other words, Relator argues that in an FCA case involving conventional FCA claims against

several parties, a decision by one party to settle such claims can trigger an additional FCA cause

of action against the remaining non-settling defendants. Essentially, Relator argues that continuing

to defend oneself against claims of fraud may in and of itself be an act of fraud giving rise to

reverse false claims.

        Relator cannot point to any authority that supports his wildly capacious interpretation of

what constitutes a reverse false claim, and thankfully so. Any court giving credence to such an

interpretation would essentially be placing its imprimatur on a regime of coercion. If Relator’s

theory is correct, every conventional FCA case involving multiple defendants is just one settlement


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agreement away from reverse false claims counts against the other defendants who decided not to

settle. Furthermore, Relator offers no reason why his theory that public settlements “trigger . . . an

obligation” by co-defendants to “identify an overpayment” would not also be true as to FCA

complaints in general. If Relator’s theory is correct, every FCA complaint could be amended as a

matter of course to include a reverse false claim count if any defendant failed to automatically

settle and pay the contested claims 60 days after receiving service of the complaint. Surely the

“publicly stated allegation[s]” listed in the Complaint would be just as sufficient as the same

allegations contained in a settlement agreement. See Relator Opp. at 31. This Court should reject

Relator’s unorthodox interpretation of the reverse false claim statute and accordingly dismiss

Count III.

 V.    Relator’s Conspiracy Count Must Be Dismissed For Failure to Allege a Single,
       Overarching Conspiracy.

       Relator does not even attempt to defend the sufficiency of his overarching conspiracy

claim. Instead, he suggests that whether the Complaint alleges one conspiracy or multiple

conspiracies is nothing but “a procedural quibble with no substantive impact.” Relator Opp. at 32.

       The Complaint plainly (albeit insufficiently) attempts to allege a single conspiracy amongst

all Practice Defendants and Cardinal, who is not a defendant to this case. Count IV twice refers to

“Defendants’ conspiracy” (singular) and never speaks of multiple conspiracies. Relator Am.

Compl. ¶¶ 192-93. Indeed, the Complaint’s entire basis for joinder of Relator’s claims against

Practice Defendants was the alleged existence of a single conspiracy. Id. at ¶ 17. Relator appears

to acknowledge as much, admitting that his Complaint may need to be “rephrased as multiple

counts[,] one for each defendant’s conspiracy with Cardinal[.]” Relator Opp. at 32. Relator even

“requests leave to amend’ the Complaint to make such revisions. Id. But Relator’s purported

motion for leave to yet again amend his pleading is not properly before this Court. See generally

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L.R. 7.1. Practice Defendants will address Relator’s request to amend if and when it is properly

presented, or when this Court otherwise requires. For now, Practice Defendants focus on the

allegations contained in the operative pleading only. And Count IV of the operative pleading

alleges a single, overarching conspiracy.

       Relator does attempt to defend against the Practice Defendants’ argument that the

conspiracy count fails to allege that Practice Defendants specifically intended to defraud the

government. But rather than argue that the Complaint satisfies this requirement, Relator argues

that this requirement has not existed since the FCA was amended in 2009. Relator Opp. at 33.

Practice Defendants cited a myriad of post-amendment cases holding to the contrary, see Dkt. 129

at 30-31. Relator neither distinguishes those cases nor cites to any case applying his preferred

interpretation. Indeed, the only post-amendment case he cites, United States v. Karron, did not

even involve an FCA conspiracy claim. See 750 F. Supp. 2d 480, 486 n.4 (S.D.N.Y. 2011) (noting

that only false-presentment and false-statement claims were at issue). In any event, whether

Relator is correct on this point is irrelevant because he has all but conceded that his Complaint

fails to meet the other requirements for pleading an overarching conspiracy.

       Finally, Relator contends that whether he has adequately alleged a single, overarching

conspiracy has no bearing on whether joinder of the Practice Defendants is appropriate. Relator

Opp. at 33. Relator’s contention is belied by his own Complaint, which relies on a single

“conspiracy” as its basis for joinder. Relator Am. Compl. ¶ 17. Furthermore, defendants may not

be joined to a single action unless, among other things, “any right to relief is asserted against them

jointly, severally, or in the alternative with respect to or arising out of the same transaction,

occurrence, or series of transactions or occurrences.” Fed. R. Civ. P. 21(a)(2)(A). While an




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overarching conspiracy may plausibly satisfy such a requirement, separate conspiracies involving

different defendants and distinct “transactions” and “occurrences” do not.

       Without an overarching conspiracy, this Court will be faced with a situation similar to the

one it encountered in U.S. ex rel. Health Outcomes Techs. v. Hallmark Health Sys., Inc., 409 F.

Supp. 2d 43 (D. Mass. 2006), which Defendant Oncology Specialties, PC discussed at length in

briefing its supplemental motion to dismiss. See Dkt. 134 at 5-6. In that case, this Court rejected

the notion that the FCA’s venue statute permitted FCA defendants “accused of similar, but

unrelated conduct, [to be] sued in the same district” when the relator “failed to allege a conspiracy,

concert of action, communication, contract, joint or several liability between (or any kind of

relationship among)” the defendants. 409 F. Supp.2d at 47-48 (quoting John T. Boese, Civil False

Claims and Qui Tam Actions (2d ed.) § 5.06[A][1]). Relator does not and cannot distinguish this

case from Health Outcomes.

                                          CONCLUSION

       For the reasons set forth in their Motions to Dismiss and this Reply, the Practice Defendants

respectfully request that the Court dismiss all claims asserted against them in the Amended

Complaint with prejudice and deny Relator any opportunity to further amend.


Dated: June 23, 2023                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
        I hereby certify that this document filed today through the Court’s ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),
and that I will cause paper copies of this document to be sent by U.S. Mail to those indicated as
non-registered participants on June 23, 2023.


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